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                                                           Exhibit 1 - Damages summary


                         Tip credit/     Tip credit/                      Spread of
                       minimum wage    minimum wage    Spread of hours      hours       Overtime      Overtime
                       compensatory      liquidated     compensatory     liquidated   compensatory   liquidated NYLL 195(1) NYLL 195(3)
          Name            damages         damages         damages         damages       damages       damages    damages     damages      Total:
Adrian Pizarro             $707.50         $707.50         $30.00           $30.00       $101.25       $101.25    $850.00    $4,250.00  $6,777.50
Angel Hernandez           $5,611.92       $5,611.92        $13.00           $13.00        $8.25         $8.25    $5,000.00   $5,000.00 $21,266.34
Benny Torres               $60.96          $60.96           $0.00           $0.00         $0.00         $0.00     $300.00    $1,500.00  $1,921.92
Charles Gabriel           $1,251.24       $1,251.24        $27.00           $27.00       $20.79         $20.79   $5,000.00   $5,000.00 $12,598.06
Cora Bethea               $2,001.00       $2,001.00        $15.00           $15.00        $0.00         $0.00    $2,750.00   $5,000.00 $11,782.00
Dagmara Huk               $8,051.42       $8,051.42        $45.00           $45.00       $247.88       $247.88   $5,000.00   $5,000.00 $26,688.58
Damian Zabrodin           $1,190.68       $1,190.68        $75.00           $75.00       $106.62       $106.62   $1,600.00   $5,000.00  $9,344.62
Danny Birlandeau          $1,662.18       $1,662.18        $54.00           $54.00       $148.13       $148.13   $5,000.00   $5,000.00 $13,728.60
Gisely Rosa                $216.70         $216.70          $0.00           $0.00         $0.00         $0.00     $350.00    $1,750.00  $2,533.40
Haley Melendez             $503.90         $503.90         $30.00           $30.00        $0.00         $0.00     $700.00    $3,500.00  $5,267.80
Hector Conoz              $3,181.15       $3,181.15        $15.00           $15.00       $31.05         $31.05   $4,300.00   $5,000.00 $15,754.40
Iroel Vazquez              $542.81         $542.81          $0.00           $0.00         $0.00         $0.00    $2,600.00   $5,000.00  $8,685.61
Jake Willis                $936.27         $936.27         $63.00           $63.00       $17.01         $17.01   $4,500.00   $5,000.00 $11,532.56
Jamie Tovar               $4,159.47       $4,159.47         $0.00           $0.00        $62.21         $62.21   $5,000.00   $5,000.00 $18,443.35
Jose Garcia                $26.10          $26.10           $0.00           $0.00         $0.00         $0.00     $50.00      $250.00    $352.20
Jose Pena                  $213.74         $213.74          $0.00           $0.00         $0.00         $0.00    $1,050.00   $5,000.00  $6,477.47
Juan Aguilar              $4,417.49       $4,417.49        $54.00           $54.00       $111.56       $111.56   $5,000.00   $5,000.00 $19,166.09
Juan Deluna               $1,298.27       $1,298.27        $63.00           $63.00       $146.57       $146.57   $5,000.00   $5,000.00 $13,015.66
Kelsey Foley              $2,417.07       $2,417.07        $18.00           $18.00       $22.23         $22.23   $5,000.00   $5,000.00 $14,914.60
Keya Rocaverte             $245.81         $245.81          $0.00           $0.00         $0.00         $0.00     $450.00    $2,250.00  $3,191.61
Lytchez Lazarov          $10,262.60      $10,262.60        $780.00         $780.00       $499.75       $499.75   $5,000.00   $5,000.00 $33,084.69
Mark Smith                $4,188.46       $4,188.46        $58.00           $58.00        $0.00         $0.00    $5,000.00   $5,000.00 $18,492.93
Michelle Marquez           $184.55         $184.55          $0.00           $0.00         $0.00         $0.00     $850.00    $4,250.00  $5,469.09
Miguel Torress            $3,016.01       $3,016.01         $9.00           $9.00         $1.13         $1.13    $5,000.00   $5,000.00 $16,052.27
Nino Martinenko          $20,162.39      $20,162.39        $888.00         $888.00       $829.10       $829.10 $10,000.00 $5,000.00 $58,758.98
Noel Lora                 $7,744.79       $7,744.79        $100.00         $100.00       $180.80       $180.80   $5,000.00   $5,000.00 $26,051.17
Radzivon Babaniyazav      $3,253.75       $3,253.75        $30.00           $30.00        $0.00         $0.00    $5,000.00   $5,000.00 $16,567.50
Raul Romero               $1,546.70       $1,546.70         $0.00           $0.00         $0.00         $0.00    $2,300.00   $5,000.00 $10,393.40
Shonda Williams            $88.91          $88.91           $0.00           $0.00         $0.00         $0.00     $450.00    $2,250.00  $2,877.81
Stefana Marzano           $1,733.73       $1,733.73        $11.00           $11.00        $4.02         $4.02    $3,650.00   $5,000.00 $12,147.48
Tela Wittig               $1,351.40       $1,351.40         $0.00           $0.00         $0.00         $0.00    $1,700.00   $5,000.00  $9,402.80
Tristian Collazzo         $3,891.92       $3,891.92        $29.00           $29.00       $93.67         $93.67   $5,000.00   $5,000.00 $18,029.20
Vivian Peng               $1,195.01       $1,195.01        $11.00           $11.00        $0.00         $0.00    $2,450.00   $5,000.00  $9,862.01
Total:                   $97,315.85      $97,315.85       $2,418.00      $2,418.00      $2,632.00    $2,632.00 $110,900.00 $145,000.00 $460,631.70
